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                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                                             WAYCROSS DIVISION




              CARLOS ANTONIO MENDOSA,                        )
                                                             )
                                    Petitioner,              )         CIVIL ACTION NO.: CV5I0-004
                                                             )
                             V.                              )
                                                             )
              UNITED STATES OF AMERICA,                      )         (Case No.: CR508-7)
                                                             )
                                    Respondent.              )


                                                           ORDER


                       After an independent review of the record, the Court concurs with the Magistrate

              Judge's Report and Recommendation, to which no objections have been filed. Accordingly,

              the Report and Recommendation of the Magistrate Judge is adopted as the opinion of the

              Court.
                       The Motion to Vacate Sentence, filed pursuant to 28 U.S.C. § 2255, is DISMISSED.
              The Clerk of Court is hereby authorized and directed to enter an appropriate Judgment of

              Dismissal.

                       SO ORDERED, this           day of
                                                                   p                  ,   2010.




                                                                   P GODBEY WOOD, CHIEF JUDGE
                                                                   ITED STATES DISTRICT COURT
                                                                   UTHERN DISTRICT OF GEORGIA




AO 72A
(Rev. 8/82)
